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     Las Vegas, Nevada 89113
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 5   landerson@kcnvlaw.com
 6   Attorneys for Defendants
 7                                                   UNITED STATES DISTRICT COURT

 8                                                        DISTRICT OF NEVADA

 9   DR. TAM           NGUYEN,                                           Case No.

10                                Plaintiff,                             (District Court, Clark County   of Nevada
     VS.                                                                 Case No. A-12-665334-C)
11
     LAS VEGAS METROPOLITAN POLICE                                       DEFENDANTS' NOTICE OF REMOVAL
12   DEPARTMENT, a political subdivision of the
     State of Nevada; Police Officer NAKAGAWA
13   (LVMPD #5476), individually and as police
     officer employed by the Las Vegas
14   Metropolitan Police Department; Police Officel
     GEIGER (LVMPD #9864), individually and as
15   police officer employed by the Las Vegas
     Metropolitan Police Department; POLICE
16   OFFICER JOHN DOES I-XX; and JOHN
     DOES I-XX, inclusive,
17
                                  Defendants.
18

19              Pursuant to 28 U.S.C.                  § 1441,   Defendants LAS VEGAS METROPOLITAN               POLICE

20   DEPARTMENT,                          OFFICER NAKAGAWA           and OFFICER GEIGER         ("Defendants"), by      and

21   through          their       counsel, hereby       remove   this action to this Court. In support of this       action,
22   Defendams state                 as   follows:

23   /./././

24   /./././


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1             1.               This action          was    commenced in the             Eighth       Judicial District Court of Clark                   County,
2   State of Nevada. The                       Complaint       was   filed in the       Eighth       Judicial District Court             on   July 17,         2012

3   under Case No. A-12-665334-C. Defendants                                     were    served with process              on       August 8,      2012.

4            2.                This Notice of Removal is filed within                       thirty (30) days            after       receipt by     Defendants

5   of the   Complaint,                   in   compliance        with 28 U.S.C.           § 1446(b) and               per this Court's decision in

    Coleman         v.    Assurant, Inc., 463 F.Supp.2d 1164 (D. Nev. 2006) (providing thirty (30) days for
    removal after notice and/or service of each                                  defendant).          Pursuant to         § 1446(a),          a    copy of the

    following        are       attached hereto            as   Exhibit A:    (1) Complaint; (2)                Summons to             Defendants; and (3)
    Notice   by      Defendants of Removal of Action. On information and                                            belief,    no    other    pleadings         have

    been served and                 no    orders have been entered.

              3.                   Removal is       appropriate pursuant            to 28 U.S.C.             § 1441(b),       as    this Court has          original
    jurisdiction            over         this action pursuant to 28 U.S.C.                       §    1331     (granting           district courts          original
    jurisdiction           over      claims       "arising     under the    Constitution, laws,                or    treaties of the United                 States").
    Plaintiff's      Complaint                 asserts claims for violations            of 42 U.S.C.           §    1983. Defendants' first notice of

    this action          was       on    August 8, 2012, the date that they                 were       served with            a summons           and   a    copy of

    the Plaintiff's            Complaint.
              4.                   The above-entitled action is             a    civil action for compensatory and                       punitive damages
    based     on         allegations            of 42 U.S.C.          §   1983     violations, false arrest, false imprisonment and
    intentional infliction of emotional distress. As to the non-federal claims, 28 U.S.C.                                                               § 1441(c)
    provides grounds                     for removal.

               5.                  Pursuant to 28 U.S.C.                  § 1446(a),        the state court in which this action                                  was


    commenced is within this Court's                            jurisdiction.
               6.                  Pursuant to 28 U.S.C.              § 1446(d), Defendants file                     this Notice of Removal within

    thirty (30) days                of   receipt by       Defendants of Plaintiff's              Complaint          in the state court action.


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          1              7.          Pursuant to U.S.C.         § 1446(d), Defendants certify that       a   copy of this Notice of

         2    Removal will be served           promptly         on   Plaintiff and filed with the Clerk of the      Eighth   Judicial

         3    District    Court, Clark County, Nevada.
                                               day        August,
         4               DATED this 27th             of               2012.
                                                                                              •vIq'•a{
          5

          6
                                                          GRONAU•R 7]F•O•@kNC• / /
                                                          KAEMPFER/•OWELL               REN                   /3


          7                                               BY:           •     V        V•/•              •
                                                                     LYSSA S. ANDERSON •evad• B• No.                 5781)
          8                                                          8345 West S•set Road, Suite 250
                                                                     Las Vegas, Nevada 89113
          9                                                          Attorneys for Defendants
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            1                                                CERTIFICATE OF SERVICE

           2              I, the undersigned, hereby certify that               on     this date I   electronically   filed the   foregoing
            3   DEFENDANTS' NOTICE OF REMOVAL                                  using    the court's CM/ECF system which will send

            4   notification to the       following:
            5   Cal J. Potter, III, Esq.
                Potter Law Offices
            6   1125 Shadow Lane
                Las Vegas, Nevada 89102
            7   (702) 385-1954
                (702) 385-9081 facsimile
            8   Attorney for Plaintiff
            9             DATED this 27th         day   of   August,   2012.

           10

           11
                                                                           an employee of
           12                                                              Kaempfer Crowell           Renshaw Gronauer & Fiorentino

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